                       Case 1:24-cv-01070-JHR Document 4 Filed 02/15/24 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                              for the
                                                 Southern District
                                                __________ DistrictofofNew York
                                                                        __________

                                                                )
                                                                )
                                                                )
                                                                )
                            Plaintiff(s)                        )
                                                                )
                                v.                                      Civil Action No.
                                                                )
                                                                )
                                                                )
                                                                )
                                                                )
                           Defendant(s)                         )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address)




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                           CLERK OF COURT

             02/15/2024                                                                    /S/ V. BRAHIMI
Date:
                                                                                     Signature of Clerk or Deputy Clerk
          Case 1:24-cv-01070-JHR Document 4 Filed 02/15/24 Page 2 of 2




                        RIDER TO SUMMONS IN A CIVIL ACTION
The following are the names and addresses of the defendants for the Summons in a Civil Action



                   VBGO PENN PLAZA FEE LLC
                   VANBARTON GROUP LLC
                   292 MADISON, 7TH FLOOR,
                   NEW YORK, NY, UNITED STATES, 10017


                   FRIEDMAN'S 31ST STREET, LLC
                   1991 BROADWAY, 2ND FL.
                   NEW YORK, NY, UNITED STATES, 10023
